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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

HETRONIC INTERNATIONAL, INC.,
Plaintiff,

V. Case No. CIV-14-650-F
HETRONIC GERMANY GmbH,
HYDRONIC-STEUERSYSTEME GmbH,
ABI HOLDING Gmbh,

ABITRON GERMANY GmbH,
ABITRON AUSTRIA GmbH, and
ALBERT FUCHS,

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Defendants.
VERDICT FORM

We, the jury, empaneled and sworn in the above entitled cause, do,
upon our oaths, find as follows:

Part 1: Plaintiff's Breach of Contract Claims Against Defendant Hetronic
Germany GmbH (Hetronic Germany)

1. On plaintiffs breach of contract claim against defendant
Hetronic Germany concerning sections 1 and 6.2 of the Distribution
Agreement, relating to using parts in Hetronic-branded systems that were
not purchased from plaintiff or which were not approved by plaintiff for
purchase from third-party suppliers, do you find that plaintiff has proven
each essential element of its claim by the greater weight of the evidence?
(Check “Yes” or “No”)

Yes
No
IF YOU HAVE ANSWERED “YES” TO THIS QUESTION, YOU MUST
ANSWER QUESTION NO. 2 AND QUESTION NO. 3 FOR DEFENDANT
HETRONIC GERMANY’S AFFIRMATIVE DEFENSES OF WAIVER AND
ACQUIESCENCE.

IF YOU HAVE ANSWERED “NO” TO QUESTION NO. 1, PLEASE
PROCEED TO AND ANSWER QUESTION NO. 4.

 
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2. Having found plaintiff has proven each essential element of its
breach of contract claim against defendant Hetronic Germany concerning
sections 1 and 6.2 of the Distribution Agreement, relating to using parts in
Hetronic-branded systems that were not purchased from plaintiff or which
were not approved by plaintiff for purchase from third-party suppliers, do
you find that defendant Hetronic Germany has proven its affirmative
defense of waiver by the greater weight of the evidence? (Check “Yes” or
“No)

Yes

no

3. Having found plaintiff has proven each essential element of its
breach of contract claim against defendant Hetronic Germany concerning
sections 1 and 6.2 of the Distribution Agreement, relating to using parts in
Hetronic-branded systems that were not purchased from plaintiff or which
were not approved by plaintiff for purchase from third-party suppliers, do
you find that defendant Hetronic Germany has proven its affirmative
defense of acquiescence by the greater weight of the evidence? (Check
“Vas” or “No”)

Yes
No JS
IF YOU HAVE ANSWERED “NO” TO BOTH QUESTION NUMBER 2
AND QUESTION NUMBER 3, YOU HAVE RENDERED A VERDICT IN FAVOR
OF PLAINTIFF ON ITS BREACH OF CONTRACT CLAIM AGAINST

DEFENDANT HETRONIC GERMANY CONCERNING SECTIONS 1 AND 6.2
OF THE DISTRIBUTION AGREEMENT.

IF YOU HAVE ANSWERED “YES” TO ONE OR BOTH OF QUESTION
NUMBERS 2 AND 3, YOU HAVE RENDERED A VERDICT IN FAVOR OF
DEFENDANT HETRONIC GERMANY ON THE BREACH OF CONTRACT
CLAIM CONCERNING SECTIONS 1 AND 6.2 OF THE DISTRIBUTION
AGREEMENT.

PLEASE ANSWER QUESTION NO. 4.

4, On plaintiff's breach of contract claim against defendant
Hetronic Germany concerning sections 3.3, 3.4 and/or 7.7 of the
Distribution Agreement, relating to competing with plaintiff, soliciting
plaintiff's employees, Robert Cassar and Torsten Rempe, to assist efforts
to compete with plaintiff and using plaintiff's confidential information to

 
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compete with plaintiff, do you find that plaintiff has proven each essential
element of its claim by the greater weight of the evidence? (Check “Yes” or

se No”)
Yes Vv

No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 4, YOU HAVE
RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS BREACH OF
CONTRACT CLAIM AGAINST DEFENDANT HETRONIC GERMANY
CONCERNING SECTIONS 3.3, 3.4 AND/OR 7.7 OF THE DISTRIBUTION
AGREEMENT.

IF YOU HAVE ANSWERED “NO” TO QUESTION NO. 4, YOU HAVE
RENDERED A VERDICT IN FAVOR OF DEFENDANT HETRONIC GERMANY
ON THE BREACH OF CONTRACT CLAIM CONCERNING SECTIONS 3.3, 3.4
AND/OR 7.7 OF THE DISTRIBUTION AGREEMENT.

IF YOU HAVE RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON
EITHER OR BOTH OF ITS BREACH OF CONTRACT CLAIMS AGAINST
DEFENDANT HETRONIC GERMANY, PLEASE ANSWER QUESTION NO. 5.

5. Having rendered a verdict in favor of plaintiff on either or both
of its breach of contract claims against defendant Hetronic, Germany, we fix

the amount of plaintiff's actual damages in the sum of $ 4 £45 ! G 5x, 00
PLEASE PROCEED TO PART 2.

Part 2: Plaintiff's Breach of Contract Claims Against Defendant Hydronic-
Steuersysteme GmbH (HCEE)

1. On plaintiff's breach of contract claim against defendant HCEE
concerning sections 1 and 6.2 of the Distribution Agreement, relating to
using parts in Hetronic-branded systems that were not purchased from
plaintiff or which were not approved by plaintiff for purchase from third-
party suppliers, do you find that plaintiff has proven each essential element
of its claim by the greater weight of the evidence? (Check “Yes” or “No”)

Yes Yo
No
IF YOU HAVE ANSWERED “YES” TO THIS QUESTION, YOU MUST

ANSWER QUESTION NO. 2 AND QUESTION NO. 3 FOR DEFENDANT
HCEE’S AFFIRMATIVE DEFENSES OF WAIVER AND ACQUIESCENCE.

 

 
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IF YOU HAVE ANSWERED “NO” TO QUESTION NO. 1, PLEASE
PROCEED TO AND ANSWER QUESTION NO. 4.

2. Having found plaintiff has proven each essential element of its
breach of contract claim against defendant HCEE concerning sections 1
and 6.2 of the Distribution Agreement, relating to using parts in Hetronic-
branded systems that were not purchased from plaintiff or which were not
approved by plaintiff for purchase from third-party suppliers, do you find
that defendant HCEE has proven its affirmative defense of waiver by the
greater weight of the evidence? (Check “Yes” or “No)

Yes
No 4
3. Having found plaintiff has proven each essential element of its

breach of contract claim against defendant HCEE concerning sections 1
and 6.2 of the Distribution Agreement, relating to using parts in Hetronic-
branded systems that were not purchased from plaintiff or which were not
approved by plaintiff for purchase from third-party suppliers, do you find
that defendant HCEE has proven its affirmative defense of acquiescence by
the greater weight of the evidence? (Check “Yes” or “No”)

Yes

No

IF YOU HAVE ANSWERED “NO” TO BOTH QUESTION NUMBER 2
AND QUESTION NUMBER 3, YOU HAVE RENDERED A VERDICT IN FAVOR
OF PLAINTIFF ON ITS BREACH OF CONTRACT CLAIM AGAINST
DEFENDANT HCEE CONCERNING SECTIONS 1 AND 6.2 OF THE
DISTRIBUTION AGREEMENT.

IF YOU HAVE ANSWERED “YES” TO ONE OR BOTH OF QUESTION
NUMBERS 2 AND 3, YOU HAVE RENDERED A VERDICT IN FAVOR OF
DEFENDANT HCEE ON THE BREACH OF CONTRACT CLAIM CONCERNING
SECTIONS 1 AND 6.2 OF THE DISTRIBUTION AGREEMENT.

PLEASE ANSWER QUESTION NO. 4.

4. On plaintiff's breach of contract claim against defendant HCEE
concerning sections 3.3, 3.4 and/or 7.7 of the Distribution Agreement,
relating to competing with plaintiff, soliciting plaintiff's employees, Robert
Cassar and Torsten Rempe, to assist efforts to compete with plaintiff and
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using confidential information to compete with plaintiff, do you find that
plaintiff has proven each essential element of its claim by the greater
weight of the evidence? (Check “Yes” or “No”)

Yes
No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 4, YOU HAVE
RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS BREACH OF
CONTRACT CLAIM AGAINST DEFENDANT HCEE CONCERNING SECTIONS
3.3, 3.4 AND/OR 7.7 OF THE DISTRIBUTION AGREEMENT.

IF YOU HAVE ANSWERED “NO” TO QUESTION NO. 4, YOU HAVE
RENDERED A VERDICT IN FAVOR OF DEFENDANT HCEE ON THE BREACH
OF CONTRACT CLAIM CONCERNING SECTIONS 3.3, 3.4 AND/OR 7.7 OF
THE DISTRIBUTION AGREEMENT.

IF YOU HAVE RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON
EITHER OR BOTH OF ITS BREACH OF CONTRACT CLAIMS AGAINST
DEFENDANT HCEE, PLEASE ANSWER QUESTION NO. 5.

5. Having rendered a verdict in favor of plaintiff on either or both
of its breach of contract claims against defendant HCEE, we fix the amount
of plaintiff's actual damages in the sum of $ [ 5q ly GOL, OD

PLEASE PROCEED TO PART 3.
Part 3: Plaintiff's Trademark Infringement Claims — the HETRONIC® mark,

the Product Marks (for ERGO, EURO, GL, GR, HH, MINI, NOVA®, Pocket, TG
and RX), and the Trade Dress (overall appearance of plaintiff's product line)

A. Pre-Termination of the Distribution and License Agreements

1. Has plaintiff proven by the greater weight of the evidence each
essential element of its trademark infringement claim for the HETRONIC®
mark against the following defendant or defendants (before plaintiff
terminated the distribution and license agreements)? (Circle “Yes” or “No”
as to each defendant)

Hetronic Germany No
HCEE | Ges? No

ABI Holding (ves D No

 
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Albert Fuchs Yes ) No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 2. ONLY ANSWER QUESTION NO. 2 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 1. AFTER YOU HAVE ANSWERED QUESTION NO. 2,
PLEASE ANSWER QUESTION NO. 3.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 3.

2. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed
the HETRONIC® mark? (Circle “Yes” or “No” as to each defendant)

Hetronic Germany (Yes? No
HCEE (Yes? No
ABI Holding Ces No
Albert Fuchs Yes No
3. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Product Marks
against the following defendant or defendants (before plaintiff terminated
the distribution and license agreements)? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany Yes No
HCEE No
ABI Holding (Yes? No
Albert Fuchs No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 4. ONLY ANSWER QUESTION NO. 4 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 3. AFTER YOU HAVE ANSWERED QUESTION NO. 4,
PLEASE ANSWER QUESTION NO. 5.

 
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IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 5.

4, Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Product Marks? (Circle “Yes” or “No” as to each defendant)

Aes

Hetronic Germany Yes No
HCEE No
ABI Holding No
Albert Fuchs (‘es No
5. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Trade Dress
against the following defendant or defendants (before plaintiff terminated
the distribution and license agreements)? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany No
HCEE Yes No
ABI Holding Yes No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 6. ONLY ANSWER QUESTION NO. 6 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 5. AFTER YOU HAVE ANSWERED QUESTION NO. 6,
PLEASE PROCEED TO THE INSTRUCTIONS FOR QUESTION NO. 7.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE DO
NOT ANSWER QUESTION NO. 6. PLEASE PROCEED TO THE
INSTRUCTIONS FOR QUESTION NO. 7.

6. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Trade Dress? (Circle “Yes” or “No” as to each defendant)

Hetronic Germany No

HCEE es No

ee
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ABI Holding ow No

Albert Fuchs Yes No
Instructions for Question 7.

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT ON
QUESTION NO. 1, QUESTION NO. 3, OR QUESTION NO. 5, PLEASE
ANSWER QUESTION NO. 7.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS ON
QUESTION NO. 1, QUESTION NO. 3, AND QUESTION NO. 5, PLEASE DO
NOT ANSWER QUESTION NO. 7. PLEASE PROCEED AND ANSWER
QUESTIONS UNDER “B. HOLDOVER PERIOD.”

7. Has plaintiff proven by the greater weight of the evidence that
it is entitled to any of defendant’s profits that are the result of the pre-
termination infringement? (Check “Yes” or “No”)

Yes
No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 7, PLEASE
ANSWER QUESTION NO. 8. AFTER YOU HAVE ANSWERED QUESTION
NO. 8, PLEASE PROCEED AND ANSWER QUESTIONS UNDER “B.
HOLDOVER PERIOD.”

8. What is the amount of the defendant’s profits you find plaintiff
is entitled to for pre-termination infringement?

As to defendant Hetronic Germany $ g 3Glo i 30 5. VO
As to defendant HCEE $ a (208, 049 OO,

NOTE: YOU ARE NOT REQUIRED, IN ANSWERING THIS QUESTION
(QUESTION NO. 8), TO ALLOCATE PROFITS FOR ABI AND/OR FUCHS, IF
YOU HAVE ANSWERED “YES” AS TO EITHER DEFENDANT IN QUESTION
NO. 1, QUESTION NO. 3, OR QUESTION NO. 5.

 

B. Holdover Period

1. Has plaintiff proven by the greater weight of the evidence each
essential element of its trademark infringement claim for the HETRONIC®
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mark against the following defendant or defendants (after termination on
June 6, 2014, and before Abitron Germany and Abitron Austria started
doing business on September 1, 2014)? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany No
HCEE No
ABI Holding Yes No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 2. ONLY ANSWER QUESTION NO. 2 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 1. AFTER YOU HAVE ANSWERED QUESTION NO. 2,
PLEASE ANSWER QUESTION NO. 3.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 3.

2. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
HETRONIC® mark? (Circle “Yes” or “No” as to each defendant)

2

Hetronic Germany Yes No
HCEE Yes No
ABI Holding (Ves? No
Albert Fuchs Yes No
3. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Product Marks
against the following defendant or defendants (after termination on June 6,
2014, and before Abitron Germany and Abitron Austria started doing
business on September 1, 2014)? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany e No

©

HCEE Yes No

ABI Holding (ves ) No

 
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Albert Fuchs Yes | No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 4. ONLY ANSWER QUESTION NO. 4 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 3. AFTER YOU HAVE ANSWERED QUESTION NO. 4,
PLEASE ANSWER QUESTION NO. 5.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 5.

4. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Product Marks? (Circle “Yes” or “No” as to each defendant)

Hetronic Germany Yes | No
HCEE No
ABI Holding Yes No
Albert Fuchs Yes No
5. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Trade Dress
against the following defendant or defendants (after termination on June 6,
2014, and before Abitron Germany and Abitron Austria started doing
business on September 1, 2014)? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany Yes No
HCEE (Yes) No
ABI Holding No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 6. ONLY ANSWER QUESTION NO. 6 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 5. AFTER YOU HAVE ANSWERED QUESTION NO. 6,
PLEASE PROCEED TO THE INSTRUCTIONS FOR QUESTION NO. 7.

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IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE DO
NOT ANSWER QUESTION NO. 6. PLEASE PROCEED TO THE
INSTRUCTIONS FOR QUESTION NO. 7.

6. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Trade Dress? (Circle “Yes” or “No” as to each defendant)

Hetronic Germany Yes No
HCEE (Yes) No
ABI Holding Yes No
Albert Fuchs Yes No

Instructions for Question 7.

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT ON
QUESTION NO. 1, QUESTION NO. 3, OR QUESTION NO. 5, PLEASE
ANSWER QUESTION NO. 7.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS ON
QUESTION NO. 1, QUESTION NO. 3, AND QUESTION NO. 5, PLEASE DO
NOT ANSWER QUESTION NO. 7. PLEASE PROCEED AND ANSWER
QUESTIONS UNDER “C. ABITRON OPERATION.”

7. Has plaintiff proven by the greater weight of the evidence that
it is entitled to any of defendant’s profits that are the result of the
infringement after termination on June 6, 2014, and before Abitron
Germany and Abitron Austria started doing business on September 1,
2014? (Check “Yes” or “No”)

Yes L

No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 7, PLEASE
ANSWER QUESTION NO. 8. AFTER YOU HAVE ANSWERED QUESTION
NO. 8, PLEASE PROCEED AND ANSWER QUESTIONS UNDER “C.
ABITRON OPERATION.”

8. What is the amount of the defendant’s profits you find plaintiff
is entitled to for infringement after termination on June 6, 2014, and before

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Abitron Germany and Abitron Austria started doing business on September
1, 2014?

“17K 2
As to defendant Hetronic Germany $ a), | g& ] OS 7. OO
As to defendant HCEE $ | 03, 10! ‘ OO.

NOTE: YOU ARE NOT REQUIRED, IN ANSWERING THIS QUESTION
(QUESTION NO. 8), TO ALLOCATE PROFITS FOR ABI AND/OR FUCHS, IF
YOU HAVE ANSWERED “YES” AS TO EITHER DEFENDANT IN QUESTION
NO. 1, QUESTION NO. 3, OR QUESTION NO. 5.

 

 

C. During Abitron Operation

1. Has plaintiff proven by the greater weight of the evidence each
essential element of its trademark infringement claim for the HETRONIC®
mark against the following defendant or defendants (after Abitron Germany
and Abitron Austria started doing business on September 1, 2014)? (Circle
“Yes” or “No” as to each defendant)

Abitron Germany No
Arbitron Austria No
ABI Holding ts) No
Albert Fuchs Yes , No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 2. ONLY ANSWER QUESTION NO. 2 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 1. AFTER YOU HAVE ANSWERED QUESTION NO. 2,
PLEASE ANSWER QUESTION NO. 3.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 3.

2. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
HETRONIC® mark? (Circle “Yes” or “No” as to each defendant)

Abitron Germany — es’ No

Abitron Austria No
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ABI Holding Yes No
Albert Fuchs Yes No
3. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Product Marks
as to the following defendant or defendants (after Abitron Germany and
Abitron Austria started doing business on September 1, 2014? (Circle
“Yes” or “No” as to each defendant)

Abitron Germany (ves No
Abitron Austria No
ABI Holding ves No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 4. ONLY ANSWER QUESTION NO. 4 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 3. AFTER YOU HAVE ANSWERED QUESTION NO. 4,
PLEASE ANSWER QUESTION NO. 5.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE
ANSWER QUESTION NO. 5.

4. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Product Marks? (Circle “Yes” or “No” as to each defendant)

Abitron Germany ves”) No
Abitron Austria Yds » No
ABI Holding No
Albert Fuchs No
5. Has plaintiff proven by the greater weight of the evidence each

essential element of its trademark infringement claim for the Trade Dress
as to the following defendant or defendants (after Abitron Germany and
Abitron Austria started doing business on September 1, 2014)? (Circle
“Yes” or “No” as to each defendant)

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Abitron Germany No
Abitron Austria No
ABI Holding No
Albert Fuchs Ges) No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 6. ONLY ANSWER QUESTION NO. 6 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 5. AFTER YOU HAVE ANSWERED QUESTION NO. 6,
PLEASE PROCEED TO THE INSTRUCTIONS FOR QUESTION NO. 7.

IF YOU HAVE ANSWERED “NO” TO ALL DEFENDANTS, PLEASE DO
NOT ANSWER QUESTION NO. 6. PLEASE PROCEED TO THE
INSTRUCTIONS FOR QUESTION NO. 7.

6. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants willfully or intentionally infringed the
Trade Dress? (Circle “Yes” or “No” as to each defendant)

€

Abitron Germany Yes No
Abitron Austria Yes No
ABI Holding Yes _) No
Albert Fuchs es No

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Instructions for Question 7.

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT ON
QUESTION NO. 1, QUESTION NO. 3, OR QUESTION NO. 5, PLEASE
ANSWER QUESTION NO. 7.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS ON
QUESTION NO. 1, QUESTION NO. 3, AND QUESTION NO. 5, PLEASE DO
NOT ANSWER QUESTION NO. 7. PLEASE PROCEED TO “D. REVERSE
PASSING OFF OR REVERSE PALMING OFF.”

7. Has plaintiff proven by the greater weight of the evidence that
it is entitled to any of defendant’s profits that are the result of the
infringement after Abitron Germany and Abitron Austria started doing
business on September 1, 2014? (Check “Yes” or “No”)

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ve

Yes
No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 7, PLEASE
ANSWER QUESTION NO. 8. AFTER YOU HAVE ANSWERED QUESTION
NO. 8, PLEASE PROCEED TO “D. REVERSE PASSING OFF OR REVERSE
PALMING OFF.”

8. What is the amount of the defendant’s profits you find plaintiff
is entitled to for infringement after Abitron Germany and Abitron Austria
started doing business on September 1, 2014?

As to defendant Abitron Germany $ (20, 500, 346. OO
As to defendant Abitron Austria $ | 4 a Oo, Mo 3. 0 O

NOTE: YOU ARE NOT REQUIRED, IN ANSWERING THIS QUESTION
(QUESTION NO. 8), TO ALLOCATE PROFITS FOR ABI AND/OR FUCHS, IF
YOU HAVE ANSWERED “YES” AS TO EITHER DEFENDANT IN QUESTION
NO. 1, QUESTION NO. 3, OR QUESTION NO. 5.

 

D. Reverse Passing Off or Reverse Palming Off

1. Has plaintiff proven by the greater weight of the evidence that
the following defendant or defendants infringed plaintiff's HETRONIC®
mark by reverse passing off or reverse palming off? (Circle “Yes” or “No”
as to each defendant)

Hetronic Germany Cs No
HCEE (ves) No
ABI Holding Yes ) No
Albert Fuchs No
Abitron Germany No
Abitron Austria eves) No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, PLEASE
ANSWER QUESTION NO. 2. ONLY ANSWER QUESTION NO. 2 AS TO THE
DEFENDANT OR DEFENDANTS YOU HAVE ANSWERED “YES” IN
QUESTION NO. 1. AFTER YOU HAVE ANSWERED QUESTION NO. 2,
PLEASE PROCEED TO “E. CONTRIBUTORY INFRINGEMENT.”

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IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS, PLEASE
DO NOT ANSWER QUESTION NO. 2. PLEASE PROCEED TO “E.
CONTRIBUTORY INFRINGEMENT.”

2. Has plaintiff proven by the greater weight of the evidence that
it is entitled to any of defendant’s profits as a result of defendant’s reverse
passing off or reverse palming off? (Check “Yes” or “No”)

Yes

No

IF YOU HAVE ANSWERED “YES” TO QUESTION NO. 2, PLEASE
ANSWER QUESTION NO. 3. AFTER YOU HAVE ANSWERED QUESTION
NO. 3, PLEASE PROCEED TO “E. CONTRIBUTORY INFRINGEMENT.”

IF YOU HAVE ANSWERED “NO” TO QUESTION NO. 2, PLEASE DO
NOT ANSWER QUESTION NO. 3. PLEASE PROCEED TO “E.
CONTRIBUTORY INFRINGEMENT.”

3. What is the amount of the defendant’s profits you find plaintiff
is entitled to for the reverse passing off or reverse palming off
infringement?

As to defendants Hetronic Germany and Abitron Germany

$__ € 54 404, 00 .

As at defendants HCEE and Abitron Austria
$ |, VES, OD

NOTE: YOU ARE NOT REQUIRED, IN ANSWERING THIS QUESTION
(QUESTION NO. 3), TO ALLOCATE PROFITS FOR ABI AND/OR FUCHS, IF
YOU HAVE ANSWERED “YES” AS TO EITHER DEFENDANT IN QUESTION
NO. 1.

E. Contributory Infringement

1. Has plaintiff proven by the greater weight of the evidence each
of the essential elements of its contributory infringement claim against the
following defendant or defendants? (Circle “Yes” or “No” as to each
defendant)

oe,

Hetronic Germany Yes No

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HCEE No
ABI Holding No
Albert Fuchs No

PLEASE PROCEED TO PART 4.
Part 4: Plaintiff's Unfair Competition Claim
Has plaintiff proven by the greater weight of the evidence each of the

essential elements of its unfair competition claim as to the following
defendant or defendants? (Circle “Yes” or “No” as to each defendant)

Hetronic Germany No
HCEE (Yes) No
Abitron Germany No
Abitron Austria No
ABI Holding No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, YOU
HAVE RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS UNFAIR
COMPETITION CLAIM.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS, YOU
HAVE RENDERED A VERDICT IN FAVOR OF DEFENDANTS ON
PLAINTIFF’S UNFAIR COMPETITION CLAIM.

PLEASE PROCEED TO PART 5.
Part 5: Plaintiff's Tortious Interference with Contract Claim

Has plaintiff proven by the greater weight of the evidence each of the
essential elements of its tortious interference with contract claim as to the

following defendant or defendants? (Circle “Yes” or “No” as to each
defendant)

Hetronic Germany (v8) No

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HCEE No
ABI Holding No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, YOU HAVE
RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS TORTIOUS
INTERFERENCE WITH CONTRACT CLAIM.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS, YOU
HAVE RENDERED A VERDICT IN FAVOR OF DEFENDANTS ON
PLAINTIFF’S TORTIOUS INTERFERENCE WITH CONTRACT CLAIM.

PLEASE PROCEED TO PART 6.

Part 6: Plaintiff's Claim of Aiding and Abetting Torsten Rempe’s Breach of
Fiduciary Duty

Has plaintiff proven by the greater weight of the evidence each
essential element of its claim for aiding and abetting Torsten Rempe’s
breach of fiduciary duty as to the following defendant or defendants?
(Circle “Yes” or “No” as to each defendant)

Hetronic Germany Yes No
HCEE Yes No
ABI Holding No
Albert Fuchs Yes No

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, YOU HAVE
RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS CLAIM FOR
AIDING AND ABETTING TORSTEN REMPE’S BREACH OF FIDUCIARY
DUTY.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS, YOU
HAVE RENDERED A VERDICT IN FAVOR OF DEFENDANTS ON
PLAINTIFF’S CLAIM FOR AIDING AND ABETTING TORSTEN REMPE’S
BREACH OF FIDUCIARY DUTY.

PLEASE PROCEED TO PART 7.

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Part 7: Plaintiff's Civil Conspiracy Claim

Has plaintiff proven by the greater weight of the evidence each of the
essential elements of its civil conspiracy claim as to the following
defendant or defendants?

Hetronic Germany No
HCEE No
Abitron Germany No

Abitron Austria Ces? No

ABI Holding No

Albert Fuchs No

 

IF YOU HAVE ANSWERED “YES” AS TO ANY DEFENDANT, YOU
HAVE RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON ITS CIVIL
CONSPIRACY CLAIM.

IF YOU HAVE ANSWERED “NO” AS TO ALL DEFENDANTS, YOU
HAVE RENDERED A VERDICT IN FAVOR OF DEFENDANTS ON
PLAINTIFF’S CIVIL CONSPIRACY CLAIM.

IF YOU HAVE RENDERED A VERDICT IN FAVOR OF PLAINTIFF ON
ONE OR MORE OF ITS CLAIMS IN PART 4, PART 5, PART 6 OR PART 7,
PLEASE PROCEED TO “PART 8: ACTUAL DAMAGES.”

IF YOU HAVE RENDERED A VERDICT IN FAVOR OF ALL
DEFENDANTS ON PLAINTIFF’S CLAIMS IN PART 4, PART 5, PART 6 AND
PART 7, PLEASE PROCEED TO PART 10.

Part 8: Actual Damages

NOTE: PLAINTIFF SEEKS THE SAME DAMAGES FOR ALL CLAIMS IN
PART 4 THROUGH PART 7. IF YOU HAVE RENDERED A VERDICT IN
FAVOR OF PLAINTIFF ON ONE OR MORE OF ITS CLAIMS AGAINST ONE
OR MORE OF THE DEFENDANTS IN PARTS 4 THROUGH 7, YOU MAY ONLY
GRANT PLAINTIFF ONE AWARD OF ACTUAL DAMAGES AS SOUGHT BY
PLAINTIFF.

Having found in favor of plaintiff on one or more of its claims for

unfair competition, tortious interference with contract, aiding and abetting
Torsten Rempe’s breach of fiduciary duty, and civil conspiracy and against

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one or more defendants, we award actual damages to plaintiff in the

amount of $ oy AleQ, 322,00

PLEASE PROCEED TO PART 9.

Part 9: Punitive Damages

PLEASE ANSWER BOTH QUESTIONS FOR EACH CLAIM THAT YOU
RENDERED A VERDICT IN FAVOR OF PLAINTIFF.

Unfair Competition Claim

1. Having found in favor of plaintiff on its unfair competition
claim and having awarded actual damages to plaintiff, we find by clear and
convincing evidence that the following defendant or defendants’ actions
were in reckless disregard of the rights of others: (Circle “Yes” or “No” as
to each defendant — If you answered “No” in Part 4 to a defendant, do not
answer this question for that defendant)

Hetronic Germany (Yes ) No
HCEE Ye6 ) No
Abitron Germany Yes No
Abitron Austria Yes No
ABI Holding (ves) No
Albert Fuchs (res? No
2. Having found in favor of plaintiff on its unfair competition

claim and having awarded actual damages to plaintiff, we find by clear and
convincing evidence that the following defendant or defendants’ actions
were taken intentionally and with malice towards others: (Circle “Yes” or
“No” as to each defendant — If you answered “No” in Part 4 to a defendant,
do not answer this question for that defendant)

Hetronic Germany (ves? No
HCEE No

Abitron Germany No

Abitron Austria No

 

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ABI Holding No

Albert Fuchs Ces) No

Tortious Interference with Contract Claim

1. Having found in favor of plaintiff on its tortious interference
with contract claim and having awarded actual damages to plaintiff, we find
by clear and convincing evidence that the following defendant or
defendants’ actions were in reckless disregard of the rights of others:
(Circle “Yes” or “No” as to each defendant — If you answered “No” in Part 5
to a defendant, do not answer this question as to that defendant)

/ No

No

a
Hetronic Germany Yes
HCEE

Yes
ABI Holding . (ves No
Albert Fuchs ex No

2. Having found in favor of plaintiff on its tortious interference
with contract claim and having awarded actual damages to plaintiff, we find
by clear and convincing evidence that the following defendant or
defendants’ actions were taken intentionally and with malice towards
others: (Circle “Yes” or “No” as to each defendant — If you answered “No”
in Part 5 to a defendant, do not answer this question for that defendant)

Hetronic Germany No

HCEE Ce No
ABI Holding (Yes No

Albert Fuchs (Yes 0 No

Claim of Aiding and Abetting Torsten Rempe’s Breach of Fiduciary Duty

1. Having found in favor of plaintiff on its claim of aiding and
abetting Torsten Rempe’s breach of fiduciary duty and having awarded
actual damages to plaintiff, we find by clear and convincing evidence that
the following defendant or defendants’ actions were in reckless disregard
of the rights of others: (Circle “Yes” or “No” as to each defendant — If you
answered “No” in Part 6 to a defendant, do not answer this question for
that defendant)

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Hetronic Germany No
HCEE No
ABI Holding No
Albert Fuchs No
2. Having found in favor of plaintiff on its claim of aiding and

abetting Torsten Rempe’s breach of fiduciary duty and having awarded
actual damages to plaintiff, we find by clear and convincing evidence that
the following defendant or defendants’ actions were taken intentionally and
with malice towards others: (Circle “Yes” or “No” as to each defendant — If
you answered “No” in Part 6 to a defendant, do not answer this question
for that defendant)

Hetronic Germany Yes No
Ces?

HCEE (ves? No

ABI Holding Yes ) No

Albert Fuchs Yes | No

Civil Conspiracy Claim —

1. Having found in favor of plaintiff on its civil conspiracy claim
and having awarded actual damages to plaintiff, we find by clear and
convincing evidence that the following defendant or defendants’ actions
were in reckless disregard of the rights of others: (Circle “Yes” or “No” as
to each defendant — If you answered “No” in Part 7 to a defendant, do not
answer this question for that defendant)

Hetronic Germany Yes — No
HCEE Yes - No
Abitron Germany Yes No
Abitron Austria Yes No

ABI Holding Ye No

Albert Fuchs No

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2. Having found in favor of plaintiff on its civil conspiracy claim
and having awarded actual damages to plaintiff, we find by clear and
convincing evidence that the following defendant or defendants’ actions
were taken intentionally and with malice towards others: (Circle “Yes” or
“No” as to each defendant — If you answered “No” in Part 7 to a defendant,
do not answer this question for that defendant)

Hetronic Germany (ves> No
HCEE Yes / No
Abitron Germany Yes No
Abitron Austria No
ABI Holding Yes No
Albert Fuchs (Tes) No

PLEASE PROCEED TO PART 10.
Part 10: Plaintiff's Conversion Claim

1. Has plaintiff proven by the greater weight of the evidence each
of the essential elements of its conversion claim as to the following
defendant or defendants?

Hetronic Germany (wes) No

HCEE (Yes™) No

Abitron Germany No
Abitron Austria (Yes ) No

ABI Holding Y No

es
Albert Fuchs (Wes > No

NOTE: PLAINTIFF IS NOT SEEKING ACTUAL DAMAGES FOR ITS
CONVERSION CLAIM, BUT INSTEAD IS SEEKING THE RETURN OF ITS
PROPERTY, IF YOU RENDER A VERDICT IN ITS FAVOR AGAINST ONE OR
MORE OF THE DEFENDANTS.

YOU HAVE NOW COMPLETED YOUR DELIBERATIONS. PLEASE HAVE
YOUR FOREPERSON DATE AND SIGN THIS VERDICT FORM.

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DATE AND SIGNATURE

DATE: 3 W390 ncremson, yi CUO

 

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